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                            UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON

                                          Portland Division

PACCAR FINANCIAL CORP., dba                                    Case No. 3:19-cv-01165-HZ
PACCAR LEASING COMPANY, a
Washington corporation,

                             Plaintiff,          DEFENDANTS’ MOTION TO DISMISS

                                                 Request for Oral Argument
              v.

RUN-RITE INDUSTRIES, LLC, a Nevada
limited liability company; and
GUTTERMAN’S SUPPLY
CORPORATION OF AMERICA, an Oregon
corporation,

                             Defendants

                        LR 7-1 CERTIFICATION OF CONFERRAL
       Counsel for Defendants conferred with counsel for Plaintiff via telephone and through

multiple email communications. The parties were unable to resolve the disputed issues.

                                   MOTION TO DISMISS

       Defendants Run-Rite Industries, LLC (“Run-Rite”) and Gutterman’s Supply Corporation

of America (“Gutterman’s”) hereby move to dismiss the Complaint filed by Plaintiff Paccar

Financial Corporation d/b/a Paccar Leasing Company (“Paccar”) for failure to adequately plead

federal subject matter jurisdiction. This motion is supported by the points and authorities below


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and by the pleadings and record on file with the Court.

                                      LEGAL ARGUMENT

       Paccar’s Complaint rests entirely on purported diversity jurisdiction, as it does not plead

or assert federal question jurisdiction or any federal law claim or cause of action. Paccar’s

Complaint (¶¶ 2, 4) alleges that Run-Rite is a limited liability company or LLC. However,

Paccar’s Complaint nowhere identifies the members or owners of the Run-Rite LLC, nor their

residency or citizenship. Thus, Paccar has failed to plead facts supporting or showing diversity

jurisdiction, as required by Fed. R. Civ. P. 8(a)(1).

       Fed. R. Civ P. 8(a)(1) requires the plaintiff to plead “a short and plain statement of the

grounds for the court’s jurisdiction.” When a limited liability company is a party, the complaint

must identify the constituent members and their residency or citizenship. Johnson v. Columbia

Props. Anchorage, LP, 437 F.3d 894, 899 (9th Cir. 2006); Carden v. Arkoma Associates, 494

U.S.185, 195–196 (1990); see also McDaniel v. B.G.G.OO, LLC, 2011 U.S. Dist. LEXIS 161878

(D. Or. 2011) (district court sua sponte challenged subject matter jurisdiction because plaintiff

did “not allege the citizenship of each LLC member”)

       For purposes of diversity jurisdiction, a limited liability company is a citizen of any state

of which any member of the company is a citizen. 3123 SMB LLC V. Horn, 880 F.3d 461, 465

(9th Cir. 2018); Rolling Greens MHP, L.P. v. Comcast SCH Holdings, LLC, 374 F.3d 1020, 1022

(11th Cir. 2004); SFF-TIR, LLC v. Stephenson, 2017 U.S. Dist. LEXIS 62790 (N.D. Ok. April 25,

2017); see also 13F. Charles Allen Miller et al., Federal Practice & Procedure: Jurisdiction §

3630 (3rd ed. 2017); Gen. Tech. Applications, Inc. v. Exro LTDA, 388 F.3d 114, 121 (4th Cir.

2004); Harvey v. Grey Wolf Drilling Co., 592 F.3d 1077, 1080 (5th Cir. 2008).




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       Lack of subject matter jurisdiction is a defect which can be raised at any time, including

by the Court sua sponte or of its own volition. E.g., McDaniel, 2011 U.S. Dist. LEXIS 161878.

Each court has a responsibility to review its own subject matter jurisdiction or the subject matter

jurisdiction of the court whose decision it is reviewing. Rolling Greens, 374 F.3d at 1021.

       Here, Plaintiff’s Complaint does not plead or reveal the identities, residency or

citizenship of the members of the Run-Rite LLC defendant. No federal law claim is stated to

support federal question jurisdiction. No mention of federal question jurisdiction is made in

Plaintiff’s Complaint. The Complaint does not provide or contain sufficient facts to determine

whether complete diversity of citizenship exists, and Plaintiff therefore has not sufficiently

demonstrated or pled the existence of subject matter jurisdiction. Rolling Greens, 374 F.3d at

1021–1022.

                                        CONCLUSION


       For the reasons stated above, Plaintiff’s Complaint should be dismissed for failing to

plead or allege sufficient facts to establish diversity jurisdiction or any other basis for federal

subject matter jurisdiction.


       Dated: September 9, 2019

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                                DECLARATION OF SERVICE

        I hereby certify that I served the foregoing DEFENDANTS’ MOTION TO DISMISS
on the following:

Sara C. Cotton, OSB #085986
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by the following method(s):
 xx         by e-service / e-File & Serve a full, true and correct copy thereof to the parties at the
            email addresses registered with the Court.
 xx         by emailing a full, true and correct copy thereof to the parties at the email addresses
            shown above, which are the last-known email addresses of the parties, on the date set
            forth below.
            by mailing a full, true and correct copy thereof in a sealed, first-class, postage pre-
            paid envelope, addressed to the last-known address of the parties as shown above, and
            deposited with the United States Postal Service at Portland, Oregon, on the date set
            forth below.
       I hereby declare that the above statement is true to the best of my knowledge and belief,
and that I understand it is made for use as evidence in court and is subject to penalty for perjury.

       Dated: September 9, 2019
                                              CHENOWETH LAW GROUP, PC

                                               /s/ Ethan Jones
                                              Ethan Jones, Paralegal
                                              ejones@northwestlaw.com




DECLARATION OF SERVICE
